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Unirep Strares District Court

District or New Mexico

PETE V. DOMENICI UNITED STATES COURTHOUSE
333 Lomas BLvp., N.W., SUITE 660
ALBUQUERQUE, New Mexico 87102
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JAMES O. BROWNING
District Judge

July 7, 2011

VIA CM/ECF

Charlyn E. Rees

Holland 8. Kastrin

United States Attorney's Office
201 Third Street, N.W., Suite 900
Post Office Box 607
Albuquerque, New Mexico 87103

Lee P. McMillian.

Law Offices of Lee McMillian, P.C.
507 Nebraska Street

South Houston, Texas 77587

Re: United States of America v. Edward Christy, No. CR 10-1534 JB
Dear Counsel of Record:

As a follow-up to my letter of June 14, 2010, I want to bring a matter to your attention. I
have, with my law clerks, reviewed the Judicial Code of Conduct and do not believe this matter
requires me to recuse myself. I want, however, everyone to be fully informed about, and fully
comfortable with, my participation in the case.

On the night of June 24, 2011, my middle son, Jake, attempted suicide again in New York.
He has increased the number of his visits to his psychiatrist. He is also looking for a
psychotherapist.

I believe that I can continue to be fair and impartial. If anyone, however, has any questions
about the above, please let my Courtroom Deputy Clerk, K’Aun Wild, know, and we can perhaps
have a conference. I have instructed Mrs. Wild not to tell me who may call. Best regards.
 

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Counsel of Record

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O. Browning

States District Judge
